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                       IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


   KATE GRANT AND KARMANN
   KASTEN, LLC,                                         APPENDIX OF EXHIBITS:
                                                      DEFENDANT MARY STREET’S
                         Plaintiff,                 MOTION FOR SUMMARY JUDGMENT
   v.
                                                        Case No.: 2:23-cv-00936-AMA-CMR
   KEVIN LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;                          District Judge Anne Marie McIff Allen
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE                         Magistrate Judge Cecilia M. Romero
   MCDOUGAL; and MARY STREET,

                         Defendants.


        Pursuant to Local Rule 56-1(e), Fed. R. Civ. P., Defendant Mary Street, respectfully submit

 this Appendix of Exhibits in Support of Washington County Defendant Mary Street’s Motion for

 Summary Judgment and Memorandum in Support.

                  LIST OF EXHIBITS NOT ALREADY IN THE RECORD

  Ex.                             Description of Exhibit                                   Source
  1     Warranty Deed                                                                      n/a
  2     1031 Exchange Documentation                                                        n/a
  3     3/3/2021 Estimated Settlement Statement                                            n/a
  4     ACM Marketing Materials                                                            n/a
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  5    12/11/24 Plaintiffs’ Response to Mary Street’s Request for Admission No. 1.   n/a
  6    3/17/2021 Email Street to Grant                                               n/a
  7    Lease Administration Agreement between CAMS and Plaintiffs                    n/a
  8    Mary Street Deposition Transcript                                             n/a
  9    NGX Marketing Flyer                                                           n/a
  10   TIC Agreement                                                                 n/a
  11   Mary Street’s Response to Interrogatory No. 8 of Plaintiff’s Second Set of    n/a
       Discovery Requests.


       DATED this 27th day of February 2025.

                                               STRONG & HANNI

                                               /s/ Stuart H. Schultz
                                               _________________________
                                                  Stuart H. Schultz
                                                  Attorney for Mary Street




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this Thursday, February 27, 2025, I caused the foregoing

 APPENDIX OF EXHIBITS: DEFENDANT MARY STREET’S MOTION FOR SUMMARY

 JUDGMENT was served by the method indicated below on the following:


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                                          /s/ Andi T. Sanchez




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